850 F.2d 688Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Louis COVINGTON, Plaintiff-Appellant,v.STATE OF SOUTH CAROLINA;  Richland County Sheriff'sDepartment;  Connie Lewis, Defendants-Appellees.
    No. 88-7045.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 8, 1988.Decided:  June 21, 1988.
    
      Louis Covington, appellant pro se.
      Edwin Eugene Evans, Senior Assistant Attorney General;  Charles Dennis Aughtry;  Barbara Howe McArthur, Nelson, Mullins, Riley &amp; Scarborough, for appellees.
      Before JAMES DICKSON PHILLIPS and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Covington v. State of South Carolina, C/A No. 86-932 (D.S.C. Jan. 19, 1988).
    
    
      2
      AFFIRMED.
    
    